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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

ESTATE OF ASHLEY FERGUSON                         :       NO.: 3:18-CV-00485
JONES BY MARSHALL JONES,                          :
ADMINISTRATOR, MARSHALL JONES,                    :
INDIVIDUALLY, AALIYAH JONES                       :
AND MICHAEL JONES, PPA                            :
MARSHALL JONES                                    :
                                                  :
V.                                                :
                                                      :
NICOLAE MARCU, MGR FREIGHT                        :
SYSTEM, INC., PLAN BETTA LLC,                     :
AND TOTAL QUALITY LOGISTICS                       :       DECEMBER 4, 2019

                SUPPLEMENTAL MOTION FOR RELIEF FROM STAY

       The Plaintiffs in the above referenced matter, hereby submit this Supplemental

Motion for Relief from Stay, in response to the Court’s order (Document No. 78). For

the reasons discussed below, the Plaintiffs respectfully request this Court to lift the stay

to the extent necessary to permit them to proceed with and prosecute to judgment their

personal injury claims.

         I.   Introduction

       This action arises out of an incident that occurred on December 1, 2016 on

Interstate 95 in Old Lyme Connecticut. The decedent Plaintiff, Ashley Ferguson, was

violently struck by a tractor trailer operated by Nicolae Marcu while she was stopped
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outside her vehicle tending to a medical emergency of her small child. As a result of the

collision, the decedent Plaintiff was thrown more than 70 feet in the air before she was

slammed to the ground, causing traumatic injuries that resulted in her untimely death.

        On September 8, 2017, the Plaintiffs filed suit against all Defendants in the

Superior Court of New London, Connecticut, which was subsequently transferred to the

Complex Litigation Docket in the Judicial District of Hartford. On March 22, 2018, the

case was transferred to the United States District Court, District of Connecticut. On

March 7, 2019, the Defendant Total Quality Logistics, LLC moved for an order

administratively staying the case and all deadlines for 180 days stating that an

insurance carrier for some Defendants, Spirit Commercial Auto Risk Retention, was in

temporary receivership. Shortly thereafter, the Court granted the Motion on March 8,

2019.

         II.   No Cause Exists to Warrant a Stay

        As previously argued in the Plaintiffs’ Motion for Relief from Stay, dated May 29,

2019, the Nevada State Court’s order of receivership has no jurisdiction over the

currently pending matter. Furthermore, the bankruptcy courts lack jurisdiction to

liquidate a personal injury claim. In re United States Lines, Inc., No. 97 Civ. 6727

(MBM), 1998 WL 382023, at *4 (S.D.N.Y. July 9, 1998), aff’d, 216 F.3d 228 (2d. Cir.
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2000). However, the abundance of case law regarding stays of litigation are created by

bankruptcy courts and allow relief from stays for “cause.” The party opposing stay relief

has the ultimate burden of disproving the existence of “cause”, but the movant has the

initial burden to show that “cause” exists. 11 U.S.C. Section 362(g)(2); Mazzeo v.

Lenhart, 167 F.3d 139, 142 (2d. Cir. 1999); (emphasis added). Here, the movant, Total

Quality, has failed to demonstrate that any good cause exists to warrant a stay of the

proceedings against their insured. As such, the Court should discontinue the stay and

allow the Plaintiffs to litigate their claims.

       In Sonnax Industry Incorporated v. Tri Component Product Corporation, the

Second Circuit listed several factors to consider when determining whether litigation

should proceed in a district court with a pending bankruptcy action: (1) whether relief

would result in a partial or complete resolution of the issues, (2) whether litigation in

another forum would prejudice the interests of other creditors, (3) the interests of judicial

economy and the expeditious and economical resolution of litigation, (4) whether the

parties are ready for trial in other proceedings, and (5) impact of the stay on the parties

and balance of the harms. 907 F.2d 1280, 1286 (2d Cir. 1990).

       Here, relief from the stay will ultimately result in the complete resolution of the

issues because the Plaintiffs will continue to prosecute their action, including
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participating in discovery with the Defendants to determine the extent of insurance

coverages for each corporation. Further, in spite of the fact that resolution of the

litigation may affect the distributions, the litigation itself will not interfere with the

receivership and has the potential to uncover additional coverages that may shift

damages to additional policies. Moreover, the stay will result in judicial economy

because this action will proceed, along with the Plaintiffs’ second action arising out of

the same incident that involves various corporate entities owned by the same individual.

The continuation of the stay will only further hinder the Plaintiffs’ ability to recover

compensation by preventing the Plaintiffs from obtaining evidence and deposing

witnesses before their recollection is stale.

        III.   The Non-party Insurer’s Liquidation Cannot Stay Discovery

       As the Defendant, Total Quality, argued in their Motion to Stay the proceedings

on March 7, 2019, the Uniform Insurers Rehabilitation and Liquidation Act governs the

types of proceedings that may continue when insurance companies, and in this case,

risk retention groups, are in receivership. Connecticut’s codified version to the Uniform

Insurers Rehabilitation and Liquidation Act does not prohibit the prosecution of matters

against policyholders, like the Defendant, Total Quality. Rather, our statute prohibits

only the prosecution or institution of actions against the insurer, Spirit Commercial,
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itself. See Conn. Gen. Stat. Section 38a-907(a)(1)(F) (“an application or petition…shall

operate as an automatic stay applicable to all persons…which shall prohibit…the

institution or further prosecution of any actions or proceedings in which the insurer is a

party”) (emphasis added). Spirit is not a party to this action, their policyholder is. As

such, the Plaintiffs are not barred from prosecuting their claims against the Defendants

because one insurer of a Defendant is in receivership.

       The Uniform Act may be construed to prohibit the Plaintiffs from collecting a

judgment against a policyholder of an insurer, pursuant to Conn. Gen. Stat. Section

38a-907(a)(1)(G). However, the law does not preclude the Plaintiffs in any way from

pursuing discovery and preparing for trial. Therefore, the Court should grant the

Plaintiffs’ Motion for Relief because there is no legal justification for the stay to continue.

        IV.   Conclusion

       For the reasons discussed herein, the Plaintiffs respectfully request this Court to

enter an Order granting them relief from the automatic stay, to permit them to litigate

their federal case currently pending.
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                                 THE PLAINTIFFS



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                                    CERTIFICATION

       I hereby certify that a copy of this Memorandum was mailed, faxed or
electronically delivered on this 4th day of December, 2019 to all counsel and pro se
parties of record and that written consent for electronic delivery was received from all
counsel and pro se parties of record who were electronically serviced as follows:

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                                 Commissioner of the Superior Court
